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                          UNITED STATE S DISTRICT COURT                        <' ,
                          SOUTHERN DISTRICT OF FLORIDA                          s~c~'Q'Q~~
                                Miami Divisio n

                                     " IN ADMIRALTY "                                        G
                                                                                                 0 .

                                          Case No .        ~ _



  JONES BOAT YARD, INC . ,

              Plaintif f



  V.


  M/V ELIZABETH , her engines,
  tackle, and other appurtenances,
  in rem , and Elizabeth Marine,
  Ltd ., a foreign    entity ,


             Defendants



                            VERIFIED COMPLAINT IN REM

             Plaintiff, Jones Boat Yard, Inc . ("Jones") sues

  Defendants, M/V ELIZABETH, her engines, tackle, and other

  appurtenances, in rem, ("Vessel") and Elizabeth Marine, Ltd .

  ("Elizabeth Marine") and alleges :

              1 . Jones is a corporation incorporated in and under the

  laws of the State of Florida . At all material times, Jones has

  done business at 3399 N .W . South River Drive, Miami, Florida .

             2 . Vessel is a 1988 Sports fishing vessel manufactured by

  Feadship . Its port of registry is in the British Virgin Islands an d

                                   ARMSTRONG & MEJER, P .A .

                    2800 DOUGLAS ROAD SUITE 1111 , CORAL GABLES, FLA . 33134

                         TELEPHONE 305-444 -3355 TELEFAX 305-442-430 0
                                                                                                       1
                                            PAGE 1
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  the vessel is now or will be during the pendency of this action

 within this District and within the jurisdiction of this Honorable

 Court .

             3 . Upon information and belief, Elizabeth Marine is                   a

 British Virgin Islands company that has at all material times owned

 Vessel . It has submitted itself to the jurisdiction of this Cour t

   as it has personally or through an agent breached a contract in

 this State by failing to perform acts required of it under the

 contract to perform in this State i .e ., pay Jones for the

 necessaries that it had contracted Jones to provide .

             4 . This is a case of admiralty and maritime jurisdiction,

 as herein more fully appears, within the meaning of Rule 9(h) of

 the Federal Rules of Civil Procedure, for a judgment and maritime

 lien pursuant to 46 U .S .C .A . §31342, et seq                 . This Court retains

 admiralty and maritime jurisdiction pursuant to 28 U .S .C .A . §1333 .

             5 . Jones is engaged, among other things, in the

 furnishing of supplies and repairs to vessels of all kinds and

 descriptions .

             6 . On or about November 24, 2003, there was a fire on

 Vessel, creating much damage .

             7 . Vessel was taken to Jones' facility on the Miami River

 wherein upon the order of Elizabeth Marine as owner or a person

 authorized by the owner Jones did provide necessaries for purpose s

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  of repairing the damage caused by the fire .

               8 . Elizabeth Marine agreed to pay Jones for the repairs

  and other necessaries that were to be performed on Vessel .

               9 . After receiving partial payments for work performed

 and necessaries furnished, Jones is owed as of March 31, 2006, the

  amount of $489,860 .39, which amount has not been paid for, although

 duly demanded .

               10 . Jones has hired the law firm of Armstrong & Mejer

 P .A . and has agreed to pay them a reasonable fee for their

  services .

                                           COUNT      I

               Jones reiterates and realleges its allegations contained

  in paragraph 1 through 10, above, and further states :

               11 . Pursuant to 46 U .S .C .A . §31342 Jones is entitled to

 assert and foreclose a maritime lien on Vessel in the amount of

 $489,860 .39 .

               WHEREFORE, Jones prays that :

               A . Process be issued in rem according to the practices of

 this Honorable Court in cases of admiralty and maritime

 jurisdiction against the Vessel, her engines, tackle, and other

 appurtenances, and that all persons claiming any right or interest

 in her be cited to file claim, appear and answer ;

               B . Plaintiff's claim be adjudged a preferred maritime lie n

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  on said vessel in the amount of $489,860 .39 ;

             C . Vessel be condemned or sold to satisfy said lien with

  interest and costs .

             D . Jones be granted such other and further relief as may

 be just and proper .

                                        COUNT I I

             Jones reiterates and realleges its allegations contained

  in paragraph 1 through 10, above, and further states :

             12 . Elizabeth Marine contracted Jones to repair the fire

 damage on Vessel .

             13 . In fulfillment of its contractual obligations, Jones

 performed the repairs and received from Elizabeth Marine partial

 payment .

             14 . Elizabeth Marine has breached its contract with Jones

 by failing to pay the balance that is due and owing to date under

 the contract .

             15 . All conditions precedent on Jones' part to perform

 have been complied with .

             WHEREFORE, Jones demands judgment for damages against

 Elizabeth Marine in the principal amount of $489,860 .39, together

 with prejudgment interest, costs and attorney's fees .

                                                   ARMSTRONG & MEJER, P .A .
                                                   2600 DOUGLAS ROAD ,       SUITE 111 1


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                                                          CORAL GABLES , FLORIDA 33134
                                                          Tel . (305 ) 444-335 5
                                                          Fax . (305 ) 442-4300
                                                          e-mail : amejerCabbsector .ne t

                                                          BY
                                                          ALVARO L . MEJER
                                                               Florida Bar 2




     STATE OF FLORIDA
                                        }
     COUNTY   OF MIAMI-DAD E


                  The foregoing instrument was acknowledged before m . e

      12 day of April, 2006 by                                                                    .,;hn is

                     of Jones Boat Yard, inc . who is personally 'mown to m e

                                                                                            nd :hn di d

      (did not)   take an oath .




     a1m',2006`,06-3769-002


                                                                              AMr• L M**
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                              TELEPHONE 305-444 -3355 TELEFAX 305-442-430 0
                                                 PAGE 5
           Case 1:06-cv-20962-PAS Document 1 Entered on FLSD Docket 04/14/2006 Page 6 of 6
 ® , 44 (Rev . 11!04)                                             `" CIVIL COVER SHEE T
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings or other papers as required by law, except as provided
 by local rules of court . This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet . (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM . )

 I . (a) PLAINTIFFS                                                                                  DEFENDANT$~       0~
JONES BOAT YARD, INC .                                                                                MN ELIZAB nginesdElizabeth Marine,
                                                                                                      Ltd .
    (b) County of Residence of First Listed Plaintiff             Miami-Dade                         County of Residence of First Listed Defendant           Foreig n
                              (EXCEPT IN U.S . PLAINTIFF CASES)                                                                 (IN U .S . PLAINTIFF CASES ONLY )

                                                                                                             NOTE : INLAND CONDEMNATION CASES, USE THE LQC4ThO*I OF TH E
                                                                                                                      LAND INVOLVED .
                                                                                                                                                                    ? 'r t A
    (C) Attorney' s (Firm Name, Address, and Telephone Number )             A
                                                                       ttomeys ( If Known)

Armstrong & Mejer, P .A ., Suite 1111 2600 Douglas Rd .,

                                                                                                              SHIP OF PRINCIPAL PARTIES(Place an "X" in One Box for PlaintilF-
                                                                                                 (For Diversity Cases Only) and One Box for Defendant)
0 1 U .S . Government ® 3 Federal Questio n                                                                        PTF DEF PTF DE F
        Plaintiff (U .S . Government Not a Party )                                           Citizen of This State 0 I O I Incorporated or Principal Place O 4 O 4
                                                                                                                                of Business In This State

0 2 U .S . Gove rn ment 0 4 Diversi t y                                                      Citizen of Another State      O2      ' t 2 1ncorportj%  rt i bae 0 5 O 5
        Defendant                                                                                                                           of Bu o er State'
                                 (Indicate Citizenship of Parties in Item III)

                                                                                             Citizen or Subject of a       O 3 O 3 Foreign Nation                              0 6 D 6
                                                                                                Foreign Country

IV . NATURE OF SUIT                 (Place an "X" in One Box Onl
          CONTRACT                                            TORTS                          FORIFEITUREMENALTY                      BANKRUPTCY                     OTHER      TAT     S
O 110 Insurance                       PERSONAL INJURY PERSONAL INJURY                       O 610 Agriculture                O 422 Appeal 28 USC 158          Cl 400 State Reapportionmen t
® 120 Marine                       O 310 Airplane 0 362 Personal Injury -                   O 620 Other Food & Drug          O 423 Withdrawal                 O 410 Antitrus t
0 130 Miller Act                   O 315 Airplane Product Med . Malpractice                 O 625 Drug Related Seizure             28 USC 157                 O 430 Bpaks and Banking
0 140 Negotiable Instrument               Liability D 365 Personal Injury -                       of Property 21 USC 881                                      0150 CpRgterc e
O 150 Recovery of Overpayment      O 320 Assault . Libel & Product Liability                O 630 Liquor Laws                  -PROPERTY RI                   Marko Dip Cation
      & Enforcement of Judgment           Slander 0 368 Asbestos Personal                   0 640 R .R . & Truck             0 820 Copyrights , m             C 70 Rtdleer In fl uenced an d
0 151 Medicare Act                 0 330 Federal Employers' Injury Product                  0 650 Airline Regs .             0 830 Patent   C7 7t7 7O          --II Corre}t Organizations
0 152 Recovery of Defaulted               Liability Liability                               0 660 Occupational               0 840 Trademark r",                    0 Ccinsuer
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      Student Loans                0 340 Marine PERSONAL PROPERTY                                 Safety/Health                              0 C a'..               0 le/sa t TV
      (Excl . Veterans)            0 345 Marine Product 0 370 Other Fraud                   0 690 Other                                                C)     0 Se* use Service
0 153 Recovery of Overpayment             Liabilit                0 371 Truth in Lending                                                                          85 ' otnmodities.%
                                                   y
       of Veteran's Benefits       0 350 Motor Vehicle 0 380 Other Pe rsonal                0 710 Fair Labor Standards       0 861 HIA (1395(1) :► .^ y          --~ ng e
0 160 Stockholders' Suits          0 355 Motor Vehicle Property Damage                             Act                       0 862 Black Lung (923J 7-,- .    0 $, Custom halleng e
0 190 Other Contract                      Product Liability 0 385 Property Damage           0 720 Labor/Mgmt . Relations     0 863 DIWC,DIW W' (1 _RI             X12 USC 341 0
0 195 Contract Product Liability   0 360 Other Personal Product Liability                   0 730 Labor/Mgmt .Reporting      0 864 SSID Title XVI -y          0 890 Other Statutory Actions
0 196 Franchise                           In'u                                                     & Disclosure Act          0 865 RSI 405          :>. C)    0 i9DAgricultural Act s
     REAL PROPERTY                      CIVIL RIGHTS               PRISONER PETITIONS       0 740 Railway Labor Act             FEDERAL TAX SUIT              0 89 Economic Stabilization Ac t
7 210 Land Condemnation            0 441 Voting                   0 510 Motions to Vacate   0 790 Other Labor Litigation     0 870 Taxes (U .S. Plaintiff     3 893 Environmental Matters
7 220 Foreclosure                  0 442 Employment                      Sentence           0 791 Empl. Ret . Inc .                or Defendant)              0 894 Energy Allocation Ac t
0 230 Rent Lease & Ejectment       0 443 Housing.                    Habeas Corpus :               Security Act              0 871 IRS-Third Party            0 895 Freedom of Information
0 240 Torts to Land                       Accommodations          0 530 General                                                    26 USC 7609                       Ac t
0 245 Tort Product Liability       0 444 Welfare                  0 535 Death Penalty                                                                         0 900Appeal of Fee Determinatio n
0 290 All Other Real Property      0 445 Amer . w .Disahilities - 0 540 Mandamus & Other                                                                             Under Equal Acces s
                                          Employment              0 550 Civil Rights                                                                                 to Justic e
                                   0 446 Amer . w .Disabilities - 0 555 Prison Condition                                                                      0 950 Constitutionality o f
                                          Other                                                                                                                      State Statutes
                                   0 440 Other Civil Rights


V . ORIGI N    (Place an "X" in One Box Only) Appeal to Distric t
             0 2 5 Transferred              Dfrom                         Jud7         e from        g
                              0
911 Original Removed from 3 Remanded                             0
                                     from 4 Reinstated or 0 another district 0 6 Multidistrict Magistrate
        Proceeding State Court Appellate Court Reopened (specify) Litieatio nProceeding State Court Appellate Court Reopened (specify) Judgmen t
                      Cite the U .S . Civil Statute under which you are filing ( Do not cite jurisdictional statutes unless diversity) :
                                        46 U .S .C .A . Secs . 31342 et seq .
VI . CAUSE OF ACTION                    Brief description of cause :
                                         Foreclosure of maritime lien and breach of contrac t
VII . REQUESTED IN CHECK IF THIS IS A CLASS ACTION                                             DEMAND S                                CHECK YES only if demanded in complaint :
      COMPLAINT :                            UNDER F .R .C .P . 2 3                                                                    JURY DEMAND:                 O Yes      O No

VIII . RELATED CASE(S)
                                           (See instructions) :
       IF AN Y                                                     JUDGE                                                        DOCKET NUMBER




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